            Case 2:16-mj-00249-BAT             Document 16    Filed 06/02/16     Page 1 of 2




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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. 16-249 BAT

10          v.                                           DETENTION ORDER

11 RICARDO GERALDO-GELLARDO,

12                                Defendant.

13          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

14 and based upon the factual findings and statement of reasons for detention hereafter set forth,

15 finds that no condition or combination of conditions which the defendant can meet will

16 reasonably assure the appearance of the defendant as required and the safety of any other person

17 and the community.

18         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19          (1)    Defendant has been charged by complaint with a drug trafficking offense. The

20 Court received no information about defendant’s personal history, residence, family or

21 community ties, employment history, financial status, health, and substance use. The defendant

22 through his attorney made no argument as to release, lodged no objections to the contents of the

23 United States Probation and Pretrial report, and stipulated to detention.



     DETENTION ORDER - 1
            Case 2:16-mj-00249-BAT          Document 16        Filed 06/02/16      Page 2 of 2




 1          It is therefore ORDERED:

 2          (1)    Defendant shall be detained pending trial and committed to the custody of the

 3 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 4 from persons awaiting or serving sentences, or being held in custody pending appeal;

 5          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 6 counsel;

 7          (3)    On order of a court of the United States or on request of an attorney for the

 8 Government, the person in charge of the correctional facility in which Defendant is confined

 9 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

10 connection with a court proceeding; and

11          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

12 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

13 Officer.

14          DATED this 2nd day of June, 2016.

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                                                                 A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
